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 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. Cr 1:12-cr-00038 AWI-
                                                          BAM
12                                Plaintiff,
                                                          STIPULATION REGARDING
13   v.                                                   SETTING FOR CHANGE OF PLEA;
                                                          ORDER
14   DAMONE KELLEY,
15
                                  Defendant.
16

17                                             STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by
19 and through his counsel of record, hereby stipulate as follows:
20
            1.     By previous order, this matter was set for a change of plea on July 29, 2013, at 10:00.
21
            2.     By this stipulation, the parties now move to set the matter for a change of plea on
22
     Monday, August 26, 2013, at 10 a.m. Counsel Carl Faller is now unavailable for the July 29
23

24 hearing, due to an unforeseen matter in a Bakersfield court. He indicated he would provide the plea

25 agreement to the government’s attorney on Thursday, July 25, and assures the government that his
26 client will enter a change of plea on August 26.

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           IT IS SO STIPULATED.
 1

 2 DATED:         July 24, 2013.   Respectfully submitted,
 3                                 BENJAMIN B. WAGNER
                                   United States Attorney
 4

 5                                 /s/ Karen A. Escobar___________________
                                   KAREN A. ESCOBAR
 6                                 Assistant United States Attorney
 7
     DATED:       July 24, 2013.
 8
 9                                 /s/ Carl M. Faller _____________
                                   CARL M. FALLER
10                                 Counsel for Defendant Damone Kelley
11

12                                        ORDER
13

14 IT IS SO ORDERED.

15
     Dated: July 25, 2013
16                                       SENIOR DISTRICT JUDGE
                                              DEAC_Signature-END:




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